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Exhibit 7
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE: Videotape
NEURONTIN MARKETING, SALES — : Deposition of:
PRACTICES AND PRODUCTS :

LIABILITY LITIGATION : MICHAEL TRIMBLE

THIS DOCUMENT RELATES TO:
Smith, et al. v Pfizer, et al.

Case No. 05-cv-11515-PBS

TRANSCRIPT of testimony as taken by and
before PATRICIA A. SANDS, a Shorthand Reporter
and Notary Public of the States of New York and
New Jersey, at the offices of Lanier Law Firm,
126 East 56th Street, New York, New York, on
Tuesday, September 2, 2008, commencing at 9:15

in the forenoon.

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ESLER EE

26 (Pages 98 to 101)

 

Page 98 " Page 100 :
1 A No. 1 A Okay. |
2 Q__ If you look at the bottom part of 2 Q__Back to the materials that you
3 this graphic entitled "Rates of Depression 3 brought with you today to your deposition.
4 Reported as an Adverse Event in Neurontin 4 A Okay. of
5 Placebo-Controlled Trials", there are figures 5 Q_ There is an article entitled i
6 for the rate of depression when you combine all 6 "Executive Functioning in Depressed Patients ‘
7 epilepsy and neuropathy pain in randomized 7 with Suicidal Ideation”, by Marzuk, i
8 controlled study data. | 8 M-A-R-Z-U-K, published in Acta Psychiatry i
9 Do you see that? 9 Scandinavia.
10 A Yes, 10 A Correct.
il Q_ And then under Neurontin for 11 Q_ In2005?
12 depression, the percentage of patients 12 A Correct.
13 reporting depression is 1.5. 13 Q_ Did you review this article for your
14 Do you see that? 14 opinion in this case?
15 A Correct. 15 A Idid.
16 Q_ For placebo, the number is 1.7. 16 MR. FINKELSTEIN: Can we just take a
17 Do you see that? 17 one second break?
18 A Ido. 18 Just -- I don't want to go off the
19 Q_ And 1.7 is higher than 1.5; correct? 19 record or anything -- just from an
20 A Correct. 20 organization standpoint, just so these
21 Q_ Turning again to your report at 21 don't end up all over the place, all I was
22 page 6, you state that -- on the bottom, last 22 going to do was put all of the exhibits
23 sentence: 23 . over here, just as you are going through,
24 "A review of the pharmacy records revealed 24 okay?
25 that he had been taking hydrocodone for 25 THE WITNESS: Okay.
Page 99 Page 101
1 approximately 12 months prior to his death, and 1 MR. FINKELSTEIN: Yeah, why don't we :
2 in, and about, the time of his death." 2 spread this out. Or why don't you give
3 A Correct. 3 those to me, and I'll just stack them up
4 Q_ Why do you note that? Does that have 4 here.
3 significance to your opinion? 5 MS. McGRODER: Actually I need them
6 A No. 6 here. Thanks.
7 Q Is there a reason why you made a note 7 MR. FINKELSTEIN: Okay, fine.
8 of the fact that he was taking hydrocodone for 8 BY MS. McGRODER: A
9 ayear, and up to the time of his death, in 9 Q Before we discuss this article,
10 your report? 10 Professor Trimble --
11 A Amedical report should contain 11 A Yes. :
12 information on drugs that people are taking. 12 QI note in the stack, that you have a H
13 Q_ And should it contain information on 13 number of additional articles. 2
14 all drugs that the individual is taking? 14 A Correct. :
15 A Well, yes. But with an exclusion; 15 Q_ Related to suicide. H
16 namely, if he was on something for dermatitis, _ 16 A Correct. :
17 I might not include that in a report like this. 17 Q_ These are published journal articles: :
18 Q_ Soall drugs that are relevant to 18 or textbook chapters -- d
19 your opinion -- 19 A That's correct.
20 A Correct. 20 Q_ That you, yourself, copied? ;
21. Q_ -- in the, in this case, should be 21 A Yes.
22 included in your report? 22 Q_ Did you -- :
23 A Correct. 23 A Or my PA did. i
24 Q_ We'll continue to go through your 24 Q Okay. Did you, yourself, search for i
25 report in a minute. 25 __ and identify the literature that is in this :

  

  
  
   
 
 
   
   
 
 
 
 
 
    
  
   
  
   
   
  
  
     

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